     Case 2:21-cv-04368-VAP-MAR            Document 25-2             Filed 11/16/21           Page 1 of 27 Page
                                                ID #:157



 1
     Noah Green (State Bar No. 218643)
     GREEN AND STEWART
 2
     301 E. Colorado Boulevard, Suite 708
 3   Pasadena, CA 91101
     (626) 395-7686
 4
     noah@gspattorneys.com
 s
 6
     Attorneys for Defendants, Taras Investments LLC, et a.

 7                         UNITED STATES DISTRICT COURT
 8

 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     Shonna Marie Counter,                                 CASE NO. 2:21-cv-04368 MCS
11
                 Plaintiff,                                (MARx)
12
          vs.                                              DECLARATION OF NOAH GREE
13                                                         IN SUPPORT OF DEFENDANTS'
14   Taras Investments LLC, a                              MOTION FOR SUMMARY
     Delaware Limited Liability                            JUDGMENT
15
     Company; Taras Himalayan Cuisine,
16   Inc.; and Does 1 - 10,                                Date:               January 10, 2022
                                                           Time:               2:00 p.m.
17
                 Defendants.                               Courtroom:          8A
18                                                         Judge:              Hon. Virginia Phillips
19

20                                                                                                                '
21

22
           1.     I am an attorney at law licensed to practice in all California courts and
23

24   the United States District Court for the Central District of California.
25
           2.     I am counsel of record for defendants in this case and have learned the
26

27
     following facts through the course and scope of that representation.

28



                        Declaration of Noah Green in Support of Motion for Summary Judgment
                                 CASE NO. CASE NO. 2:2 l-cv-04368 MCS (MARx)
     Case 2:21-cv-04368-VAP-MAR             Document 25-2            Filed 11/16/21            Page 2 of 27 Page
                                                 ID #:158



             3.    Attached hereto as Exhibit A is a true and correct copy of the first set

 2
     of Request for Admissions that I served on behalf of defendants to plaintiff in this
 3
     case.
 4

 5           4.    Attached hereto as Exhibit B is a true and correct copy plaintiffs
 6
     responses to the first set of Request for Admissions that I served on behalf of
 7

 8   defendants to plaintiff in this case.
 9
             5.    Attached hereto as Exhibit C is a true and correct copy of the results

11
     ofmy search on PACER showing that plaintiff has filed 48 cases in this court

12   regarding alleged ADA-access violations as of November 4, 2021.
13
             6.    On November 9, 2021 I emailed a letter to counsel for plaintiff in an
14

1s   effort to meet and confer regarding this motion, but have received no response. A
16
     true and correct copy of that letter is attached hereto as Exhibit D.
17

18
             I hereby affirm that the facts stated herein are true and correct under penalty

19   of perjury.
20

21

22   Dated: November 11, 2021
23
                                                     NOAH GREEN, declarant
                                                     Pasadena, CA
24

25

26

27

28

                                                          2
                         Declaration of Noah Green in Support of Motion for Summary Judgment
                                  CASE NO. CASE NO. 2:21-cv-04368 MCS (MARx)
Case 2:21-cv-04368-VAP-MAR   Document 25-2   Filed 11/16/21   Page 3 of 27 Page
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                         Exhibit A
     Case 2:21-cv-04368-VAP-MAR              Document 25-2      Filed 11/16/21   Page 4 of 27 Page
                                                  ID #:160



 1
     GREEN AND STEWART, P.C.
 2
     Noah Green (SBN 218643)
     301 E. Colorado Boulevard, Suite 708
 3   Pasadena, CA 91101
     (626) 395-7686
 4
     noah@gspattorneys.com
 5
     Attorneys for Defendant's Taras Investments LLC, et al.
 6

 7                            UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   SHONNA MARIE COUNTER,                             ) Case No.: 2:21-cv-04368MCS
                                                       ) {MARx)


                                                       ~
11
                                Plaintiff,                 DEFENDANT'S REQUEST FOR
12                                                         ADMISSIONS
                                                       )
13
                       vs.                             )   SET NUMBER ONE
                                                       )
14                                                     )
                                                       )

                                                       ~
15
     TARAS INVESTMENTS LLC, a Delaware
16
     Limited Liability Company; TARAS    )
17   HIMALYAN CUISINE, INC.; and DOES 1-
     10,                                 )
                                                       ~
18                                       )
                             Defendants. )
19                                       )
20

21
            PROPOUNDING PARTY:               Defendant, Taras Investments LLC
22
            RESPONDING PARTY:                Plaintiff, Shonna Marie Counter
23

24          SETNUMBER:                       ONE (1)

25

26

27

28


                          DEFENDANT'S REQUEST FOR REQUEST FOR ADMISSIONS
                                  CASE NO. 2:2 l-cv-04368MCS (MARx)
     Case 2:21-cv-04368-VAP-MAR              Document 25-2       Filed 11/16/21      Page 5 of 27 Page
                                                  ID #:161



                                     REQUEST FOR ADMISSIONS
 1

 2

 3   RESOUEST FOR ADMISSIONS NO.: 1

 4                     Admit that on December 19, 2018, plaintiff, Shonna Marie Counter
 5
     ("YOUNOUR"), filed a federal civil action against Taras Investments, LLC, for violations
 6
     of the Americans with Disabilities Act which was assigned case number 2: 18-cv-10406
 7

 8
     ("First Case").

 9

10   REQUEST FOR ADMISSIONS NO.: 2
11
                       Admit that the allegations in the First Case arose from YOUR alleged visits to
12
     defendants' restaurant located at 10855 Venice Boulevard, Los Angeles, California in
13

14   October, November, and December 2018.

15

16
     REQUEST FOR ADMISSIONS N0.:3
17
            Admit that YOU alleged in the First Case that during those visits YOU attempted
18
     to park in the handicap parking space of our parking lot but YOU could not do so because it
19

20   was blocked by a dumpster and storage shed.

21

22   REQUEST FOR ADMISSIONS N0.:4
23
            Admit that within 30 days of receiving the Summons and Complaint in the First
24
     Case, the defendants had the storage shed and dumpster removed so that the handicap
25

26
     parking space was no longer blocked.

27

28
                                                     2
                             DEFENDANT'S REQUEST FOR REQUEST FOR ADMISSIONS
                                     CASE NO. 2:21-cv-04368MCS (MARx)
     Case 2:21-cv-04368-VAP-MAR           Document 25-2       Filed 11/16/21     Page 6 of 27 Page
                                               ID #:162



 1
     REQUEST FOR ADMISSIONS NO.:5
 2

 3           Admit that Exhibit 1 consists of true and correct copies of photographs showing

 4   the handicap parking space at defendants' premises after defendants removed the shed and
 5
     dumpster.
 6

 7
     REQUEST FOR ADMISSIONS NO.:6
 8

 9
             Admit that Exhibit 1 consists of true and correct copies of photographs showing

10   the handicap parking space at defendants' premises as it looked the day YOU filed the
11
     present case in May 2021.
12

13
     REQUEST FOR ADMISSIONS NO.:7
14
             Admit that the First Case was dismissed without prejudice on December 18,
15

16   2019.

17

18
     REQUEST FOR ADMISSIONS NO.:8
19
             Admit that defendants had agreed to the terms of a settlement and signed
20
     the settlement agreement prepared by YOUR counsel in the First Case.
21

22

23   REQUEST FOR ADMISSIONS NO.:9

24           Admit that YOU never signed the settlement agreement in the First Case.
25

26

27

28
                                                  3
                          DEFENDANT'S REQUEST FOR REQUEST FOR ADMISSIONS
                                  CASE NO. 2:21-cv-04368MCS (MARx)
     Case 2:21-cv-04368-VAP-MAR          Document 25-2       Filed 11/16/21      Page 7 of 27 Page
                                              ID #:163



     REQUEST FOR ADMISSIONS NO.:10
 1

 2          Admit that YOU terminated YOUR attorneys from the First Case.

 3

 4
     REQUEST FOR ADMISSIONS NO.:11
 5
            Admit that in May 2021 YOU filed a federal civil action against Taras Investments,
 6

 7
     LLC, and other defendants, for violations of the Americans with Disabilities Act which was

 8   assigned case number 2:21-cv-04368 ("Second Case").

 9

10
     REQUEST FOR ADMISSIONS NO.:12
11
            Admit that you allege the same facts and legal theories in the Second Case as YOU
12

13   alleged in the First Case.

14

15
     REQUEST FOR ADMISSIONS NO.:13
16
            Admit that in the Second case, YOU claim that YOU visited defendants'
17
     restaurant in October-December 2018
18

19

20   REQUEST FOR ADMISSIONS NO.:14
21
            Admit that in the Second case, YOU claim that YOU could not park in the handicap
22
     spot because the shed and dumpster were blocking it in October-December 2
23

24
     Dated: September 17, 2021
25                                                                N                           r
                                                                  Taras Investments LLC, et al.
26

27

28
                                                    4
                           DEFENDANT'S REQUEST FOR REQUEST FOR ADMISSIONS
                                   CASE NO. 2:21-cv-04368MCS (MARx)
     Case 2:21-cv-04368-VAP-MAR           Document 25-2            Filed 11/16/21   Page 8 of 27 Page
                                               ID #:164



 1
                                       PROOF OF SERVICE
 2
             I am employed in the County of Los Angeles. I am over the age of 18 years and not a
 3   party to the within action. My business address is 301 E. Colorado Boulevard, Suite 708,
     Pasadena, CA 91101.
 4

 5          On the date set forth below, I served the foregoing documents described as
     DEFENDANTS REQUEST FOR ADMISSIONS on the interested parties in this action by
 6   placing the true copy thereof, enclosed in a sealed envelope, postage prepaid, addressed as
     follows:
 7

 8                                         Michael t. Stoller, Esq.
                                           Stoller Law Group, PC
 9                                          547 Hoback Glen Rd.
                                           Hidden Hills, Ca 91302
10                                       Michael.stoller@stollerlawgroup.com

11

12
     0      (BYMAIL)
13            I am readily familiar with the business practice of my place of employment in
14    respect to the collection and processing of correspondence, pleadings and notices for
      mailing with United States Postal Service. The foregoing sealed envelope was placed for
15    collection and mailing this date consistent with the ordinary business practice of my place
      of employment, so that it will be picked up this date with postage thereon fully prepaid at
16
      Los Angeles, California, in the ordinary course of such business.
17
     ~      (BY ELECTRONIC SERVICE)
18           I caused such documents to be emailed to the above addressee's email addresses as
     stated above.
19

20   ~      (STATE)
             I declare under penalty of perjury under the laws of the State of California that the
21    foregoing is true and correct.
22

23

24
     Executed on September 17, 2021 at Pasadena, Californit-----, .-           \~-\fl·.//
                                                                                    ; --
25
                                                                      A'.J,at.4·:1 --
26

27

28
                                                     5
                          DEFENDANT'S REQUEST FOR REQUEST FOR ADMISSIONS
                                  CASE NO. 2:21-cv-04368MCS (MARx)
Case 2:21-cv-04368-VAP-MAR   Document 25-2   Filed 11/16/21   Page 9 of 27 Page
                                  ID #:165




                         Exhibit B
Case 2:21-cv-04368-VAP-MAR              Document 25-2        Filed 11/16/21   Page 10 of 27 Page
                                             ID #:166



   1 Michael T. Stoller (SBN 120241)
     STOLLER LAW GROUP, PC
     5747 Hoback Glen Road
   2 Hidden Hills1 CA 91302
   3 Tel:  310-2"f-5-4028
     Email: michael.stoller@stollerlawgroup.com
   4
     Attorneys for Plaintiff,
   5 SHONNA MARIE COUNTER
   6
                                  UNITED STATES DISTRICT COURT
   7                              CENTRAL DISTRIC OF CALIFORNIA
   8
       SHONNA MARIE COUNTER,                              Case No. 2:18-CV-04368-MCS-MAR
   9
                           Plaintiff,                     PLAINTIFF'S RESPONSE TO
  10          vs.                                         DEFENDANT'S REOUESTS FOR
                                                          ADMISSIONS - SET"ONE
  11
       l;i~~sl~~~       ttfiih1TY
       COMPANY· TARAS HIMALAYAN
                                                          Honorable Judge Virginia A. Phillips
  12
       CUISINE, INC.; AND DOES 1-10
  13
                           Defendants.
  14
  15
  16 PROPOUNDING PARTY:                               TARAS INVESTMENT, LLC
  17
       RESPONDINGPARTY:                               SHONNA MARIE COUNTER
  18
  19
       SET NUMBER:                                    ONE

  20
  21
                     Pursuant to Federal Rule 36 of Civil Procedure Plaintiff responds to
  22
  23 Defendant's first set of requests for admissions. It should be noted that this responding

  24
       party, has not fully completed discovery in this action, and has not completed
  25
       preparation for this trail. All the answers contained herein are based only upon such
  26

  27 information and documents that are presently available to arid specifically known to
  28

                                                                                                           1
       Plaintiff's Response to Defendant's Request for Admissions        Case No.: 2:18-CV-04368-MCS-MAR
Case 2:21-cv-04368-VAP-MAR             Document 25-2         Filed 11/16/21   Page 11 of 27 Page
                                            ID #:167



   1 this responding party and disclose only those contentions which presently occur to
   2
       responding party. It is anticipated that further discover independent investigation,
   3
   4 legal research and analysis may supply additional facts, add meaning to the known
   5 facts, and perhaps establish entirely new factual conclusion and legal contentions, all
   6
       of which may lead to substantial additions to, changes and variations from the
   7
   8 responses herein set forth. The following interrogatory responses are given without
   9
       prejudice to responding party's right to produce at trail evidence of any subsequently
  10
  11 discovered fact or facts which this responding party may later recall uncover or which
  12 was omitted from the responses as a result of good faith oversight. Responding party
  13
       accordingly reserves the right to amend any and all response herein as additional facts
  14
  15 are ascertained, analyses is made, legal research is completed, and contentions are
  16 made.
  17
                 PLAINTIFF RESPONSE TO REQUESTS FOR ADMISSIONS
  18
  19 Response to Reguest No. 1
  20
       Admit.
  21
  22 Response to Reguest No. 2
  23 Admit.
  24
       Response to Reguest No. 3
  25
  26 Admit.
  27
       Response to Reguest No. 4
  28

                                                                                                           2
       Plaintiff's Response to Defendant's Request for Admissions        Case No.: 2:18-CV-04368-MCS-MAR
Case 2:21-cv-04368-VAP-MAR             Document 25-2         Filed 11/16/21   Page 12 of 27 Page
                                            ID #:168



   1 Plaintiff lacks sufficient information or knowledge to admit or deny this request
   2
       therefore denies it.
   3
   4 Response to Request No. 5

   5 Plaintiff lacks sufficient information or knowledge to admit or deny this request
   6
       therefore denies it.
   7
   8 Response to Request No. 6
   9
       Plaintiff lacks sufficient information or knowledge to admit or deny this request
  10
  11 therefore denies it.
  12 Response to Request No. 7
  13
       Admit.
  14
  15 Response to Request No. 8
  16 Deny.
  17
  18 Response to Request No. 9
  19 Admit.
  20
     Response to Request No. 10
  21
  22 Admit.
  23 Response to Request No. 11
  24
     Admit.
  25
  26 Response to Request No. 12
  27
       Admit.
  28

                                                                                                           3
       Plaintiff's Response to Defendant's Request for Admissions        Case No.: 2:18-CV-04368-MCS-MAR
Case 2:21-cv-04368-VAP-MAR             Document 25-2         Filed 11/16/21   Page 13 of 27 Page
                                            ID #:169



   1 Resnonse to Reguest No. 13
   2
       Admit.
   3
   4 Resnonse to Reguest No. 14
   5 Admit.
   6
   7
   8 Dated: October 18, 2021                                  STOLLER LAW GROUP, PC
   9
  10                                  By:                     1/s//Alie-hael SwlleF
                                                              Michael Stoller, Esq.
  11
                                                              Attorneys for Plaintiff
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28 II

                                                                                                           4
       Plaintiff's Response to Defendant's Request for Admissions        Case No.: 2:18-CV-04368-MCS-MAR
Case 2:21-cv-04368-VAP-MAR             Document 25-2         Filed 11/16/21   Page 14 of 27 Page
                                            ID #:170



   1                                           VERIFICATION
   2
       I, Shonna Marie Counter, verify under penalty of perjury that the foregoing
   3
   4 RESPONSE TO REQUEST FOR ADMISSIONS - SET ONE, are true and correct
   5 under the laws of the State of California.
   6
   7
   8
   9
  10 Dated: October 18, 2021
  11
                                      By:
  12                                                          Shonna Marie Counter
  13                                                          Plaintiff
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                                                           5
       Plaintiff's Response to Defendant's Request for Admissions        Case No.: 2:18-CV-04368-MCS-MAR
Case 2:21-cv-04368-VAP-MAR             Document 25-2        Filed 11/16/21    Page 15 of 27 Page
                                            ID #:171



   1                                         PROOF OF SERVICE
   2       I am employed in the County of Los Angeles, State of California. I am over the
     age of 18_years, and not a party to tlie above-entitled action. My business address is 5747
   3 Hoback Glen Road, Hidden Hills, CA 91302.
   4      On October 19t~T 202 lA I served the fo@g_oil!_g_ document described as
     PLAINTIFF'S RESP01~SE Tu DEFENDANT'S REQUEST FOR ADMISSIONS
   5 - SET ONE on all parties in this action by:
   6 [ ] I deposited su~h envelope(s) in the mail at Sherman Oaks, California, with
   7      postage prepaid to:

   8
   9 [ ]      I am readily familiar with the firm's practice of collection and processing
              correspondence for mailing. Under that practice it would be deposited that same
  10          day with ~ost~ge thereon fully prepaid at S~erman Oaks, California; in ~he ordinary
              course ofbusmess. I am aware that on motion of party served, service 1s presumea
  11          invalid if postal cancellation date orJ?Ostage meter date is more than one ( 1) day
              after date of deposit for mailing in affidavit.
  12
       [ ]    By_facsimile, I transmitted such documents from Sherman Oaks, California, to the
  13          offices of the addressee(s).
  14 [ ]      By Registered/Certified/Express Mail, Receipt No (                ), to the offices/resident
              of the addressee(s).
  15
       [X]    BY ELECTRONIC TRANSMISSION: On this date, a copy a COP-Y of the
  16          documents described above was transmitted to the electronic email adclresses as
              set forth herein following ordinary business practices at Lefkowitz Law Group
  17          Noah Green Es~
              LEE GREEN STEWART & PAUL
  18          301 E. Colorado Boulevard, Suite 705
              Pasadena, CA 91101
  19          noah@gstattomeys.com
  20
  21 [X]      (State) I declare under penalty of perjury under the laws of the State of California
              that the above is true and correct; and that this declaration was executed on
  22          October 19, 2021, at Sherman Oaks, California.

  23                                                                /Isl/Michael Stoller
  24                                                            Michael Stoller, Esq.,
  25                                                            Declarant
  26
  27
  28

                                                                                                           6
       Plaintiff's Response to Defendant's Request for Admissions        Case No.: 2:18-CV-04368-MCS-MAR
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                                  ID #:172




                             Exhibit C
           Case
11/4/21, 9:23 AM 2:21-cv-04368-VAP-MAR                     Document
                                                                PACER25-2     Filed
                                                                      Case Locator     11/16/21
                                                                                   - Search Results   Page 17 of 27 Page
                                                                ID #:173
       An official website of the United States govermm:nt. Herc's how you know. v                       Log in to PACER Systems ~J


                                      Party Search Results
   -ffRPACER
            Case Locator
 Search Criteria: Party Search; Last Name: [Counter]; First Name:
 [Shonna]
 Result Count: 48 (1 page)
 Current Page: 1

  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2018cv06395
  Case Title                                    Shonna Counter v. Sonya Passy et al
  Court                                         California Central District Court
  Date Filed
  Date Closed                                                                                                                     I
                                                                                                                                  I

  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2018cv07619
  Case Title                                    Shonna Counter v. La Cienega-Sawyer LTD et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cy00657
  Case Title                                    Shonna Counter v. American Multi-Cinema, Inc. et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2018cv08779
  Case Title                                    Shonna Counter v. BRE HH Property Owner LLC, et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2018cv09973
  Case Title                                    Shonna Counter v. Starbucks Corporation et al
  Court                                         California Central District Court
  Date Filed
  Date Closed




https://pcl.uscourts.gov/pcl/pages/search/results/parties.jsf?sid=adecef0587f94d9c9616b05e887b2e5b                               1/9
           Case
11/4/21, 9:23 AM 2:21-cv-04368-VAP-MAR                    Document
                                                               PACER25-2     Filed
                                                                     Case Locator     11/16/21
                                                                                  - Search Results    Page 18 of 27 Page
                                                                ID #:174
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2018cv10026
  Case Title                                   Shonna Counter v. Cinemark USA, Inc. et al
  Court                                        California Central District Court
                                                                                                                            I

  Date Filed                                                                                                                I

  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2018cv10290
  Case Title                                   Shonna Counter v. Enterprise Rent-A-Car Company of Los Angeles, LLC et
  al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2018cv10404
  Case Title                                   Shonna Counter v. Douglas Emmett 1995, LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2018cv10406                                                                I
  Case Title                                   Shonna Counter v. Taras Investments LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2018cv10626
  Case Title                                   Shonna Counter v. La Cienega-Sawyer LTD et al
  Court                                        California Central District Court                                            I
                                                                                                                            I


  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv00298
  Case Title                                   Shonna Counter v. Lance Camper MFG. Corp. et al
  Court                                        California Central District Court
  Date Filed
  Date Closed




                                                                                                     ---------------
https://pcl.uscourts.gov/pcVpages/search/results/parties.jsf?sid=adecef0587f94d9c9616b05e887b2e5b                          2/9
           Case
11/4/21, 9:23 AM 2:21-cv-04368-VAP-MAR                     Document
                                                                PACER25-2     Filed
                                                                      Case Locator     11/16/21
                                                                                   - Search Results   Page 19 of 27 Page
                                                                 ID #:175
  Party Name                                   Counter, Shonna (pla)                                                        !
  Case Number                                  8:2019cv00092
  Case Title                                   Counter v. South Coast Plaza et al
  Court                                        California Central District Court
                                                                                                                            !
  Date Filed                                                                                                                I




                                                                                                                            i
  Date Closed                                                                                                               i




                                                                                                                            !
  Party Name                                   Counter, Shonna (pla)                                                        ;
                                                                                                                            I




  Case Number                                  2:2019cv00770                                                                I



  Case Title                                   Shonna Counter v.150 Barrington Avenue LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv00772
  Case Title                                   Shonna Counter v. Yale West LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
                                                                                                                            i
  Party Name                                   Counter, Shonna (pla)                                                        I




  Case Number                                  2:2019cv00814
  Case Title                                   Shonna Counter v. Momark, LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv00816
  Case Title                                   Shonna Counter v. Brian Miller et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  8;2019cv00215
  Case Title                                   Shonna Counter v. CPLG Properties L.L.C. et al
  Court                                        California Central District Court
  Date Filed
  Date Closed




https://pcl.uscourts.gov/pcVpages/search/results/parties.jsf?sid=adecef0587f94d9c9616b05e887b2e5b                          3/9
           Case
11/4/21, 9:23 AM 2:21-cv-04368-VAP-MAR                     Document
                                                                PACER25-2     Filed
                                                                      Case Locator     11/16/21
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                                                                 ID #:176
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv00817
  Case Title                                    Shonna Counter v. One Westside, LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)                                                       I

  Case Number                                   2:2019cv00850
  Case Title                                    Shonna Counter v. Blake Coolidge Holding Company, LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv01036
  Case Title                                    Shonna Counter v. Siu Cheng Fu et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv01038
  Case Title                                    Shonna Counter v. Marina Del Rey lnnvestors et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv01078
  Case Title                                    Shonna Counter v. Barrington Gateway, LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv01278
  Case Title                                    Shonna Counter v.10801 National, LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed




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  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv01282
  Case Title                                   Shonna Counter v. Greystar Real Estate Partners, LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv01283
  Case Title                                   Shonna Counter v. Second Country Club Associates Limited Partnership et
  al
  Court                                        California Central District Court
  Date Filed
  Date Closed                                                                                                              !
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv02863
  Case Title                                   Shonna Counter v. H and E Holdings, LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv02919
  Case Title                                   Shonna Counter v. Kolsch House LLC et al
  Court                                        California Central District Court                                           I
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  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv03041
  Case Title                                   Shonna Counter v. Seyed Jamal Kazemini et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv03042
  Case Title                                   Shonna Counter v. James A. Collins et al
  Court                                        California Central District Court
  Date Filed
  Date Closed




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                                                               ID #:178
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv03378
  Case Title                                   Shonna Counter v. EQR-Pegasus Apartments, LP et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv03683
  Case Title                                   Shonna Counter v.11058 Santa Monica Blvd., LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv03685
  Case Title                                   Shonna Counter v. Burbank Village, LP. et al
  Court                                                                                                                    !;
                                               California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv03375
  Case Title                                   Shonna Counter v. Burbank Empire Center, LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
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  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv04486
  Case Title                                   Shonna Counter v. Craig Realty Group Citadel, LLC et al
  Court                                        California Central District Court
  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv04580
  Case Title                                   Shonna Counter v. Preston A. Jackman et al
  Court                                        California Central District Court
  Date Filed
  Date Closed




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  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv04637
  Case Title                                    Shonna Counter v. PVH Retail Stores LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv04638
  Case Title                                    Shonna Counter v. Hanesbrands Inc. et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv04791
  Case Title                                    Shonna Counter v. PVH Retail Stores LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv04792
  Case Title                                    Shonna Counter v. Public Storage et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv06346
  Case Title                                    Shonna Counter v. North Tower, LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv06530
  Case Title                         Counter v. Northern Trust Bank of California, N.A., Property Trustee under
  The MF Trust No.1 dated July 26, 1991 et al
  Court                                         California Central District Court
  Date Filed
  Date Closed




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  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv06531
  Case Title                                   Shonna Counter v. Northern Trust Bank of California, N.A. et al
  Court                                        California Central District Court
  Date Filed                                                                                                                :
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  Date Closed                                                                                                               i
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv06532
  Case Title                                   Shonna Counter v. Marina Waterside, LLC et al
  Court                                         California Central District Court                                           I


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  Date Filed
  Date Closed
  Party Name                                   Counter, Shonna (pla)
  Case Number                                  2:2019cv06533
  Case Title                                   Shonna Counter v. AWH Burbank Hotel, LLC et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2;2019cy06569
  Case Title                                    Shonna Counter v. SF Partners LLC et al
  Court                                         California Central District Co"urt
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2;2019cv06756
  Case Title                                    Shonna Counter v. La Cienega-Sawyer LTD et al
  Court                                         California Central District Court
  Date Filed
  Date Closed
  Party Name                                    Counter, Shonna (pla)
  Case Number                                   2:2019cv07803
  Case Title                                    Shonna Counter v. Premium Outlet Partners, LP. et al
  Court                                         California Central District Court
  Date Filed
  Date Closed




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   Party Name                                          Counter, Shonna Marie (pla)
   Case Number                                         2:2021cv04368
   Case Tit le                                         Shonna Marie Counter v. Taras Investments, LLC, et al
   Court                                               California Central District Court
   Date Filed
   Dat e Closed



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                             Exhibit D
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                                    301 E. Colorado Blvd., Suite 708
                                          Pasadena, CA 91101
                              Tel: (626) 432-1699 • Fax: (626) 768-3394

                                       November 9, 2021

 Michael T. Stoller
 5747 Hoback Glen Road
 Hidden Hills, CA 91302

        RE:    Counter v. Taras Investments, LLC, et al.
               2:21-cv-04368

 Dear Mr. Stoller:

         Though we have had similar discussions in the past regarding my view of the case when
 we were discussing settlement, please consider this my formal attempt per Local Rule 7-3 to
 discuss the substance of my contemplated motion for summary judgment. In particular, I believe
 plaintiffs federal ADA claim is subject to complete defense under the doctrine of mootness. I
 also believe that the state Unruh claim is barred by the applicable statute of limitations.

       If you have any facts or legal authorities to dispute the arguments, please present them
 now. Otherwise, I anticipate filing my motion seven (7) days from now on November 16, 2021.

                                     Very truly yours,




                                     NOAH GREEN
